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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                    CASE NO: 2:16-cr-81-FtM-38CM

 JERRY BROWDY


                                         ORDER1

       This matter comes before the Court on Jerry Browdy’s Motion for Judgment of

 Acquittal or Motion for New Trial (Doc. 412) filed on November 3, 2017. The Government

 filed a Response in Opposition (Doc. 426) on November 20, 2017. This matter is ripe for

 review.

       After a seven-day jury trial, Browdy and two other co-conspirators were found guilty

 of conspiracy with intent to distribute methamphetamine. (Doc. 350). Now, Browdy

 moves for a judgment of acquittal under Rule 29 and a new trial under Rule 33. The

 Government opposes Browdy’s Motion on all fronts. After careful review, the Court

 denies Browdy’s Motion.

       Under Rule 29, "[i]f the jury has returned a guilty verdict, the court may set aside

 the verdict and enter an acquittal." Fed. R. Crim. P. 29(c). When deciding a motion for

 judgment of acquittal, the Court must view the evidence in the light most favorable to the


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 government, and determine whether a reasonable jury could have found a defendant

 guilty beyond a reasonable doubt. U.S. v. Miranda, 425 F.3d 953, 959 (11th Cir. 2005).

 “A jury’s verdict cannot be overturned if any reasonable construction of the evidence

 would have allowed the jury to find the defendant guilty beyond a reasonable doubt.” U.S.

 v. Friske, 640 F.3d 1288, 1291 (11th Cir. 2011) (quoting U.S. v. Herrera, 931 F.2d 761,

 762 (11th Cir. 1991)). Against that backdrop, the Court continues to find that a reasonable

 jury could have found Browdy guilty beyond a reasonable doubt and that all elements of

 the conspiracy were established.

        Browdy also argues that his Motion must be granted because the Court failed to

 declare a mistrial after a witness testified to a co-conspirator’s incarceration. 2      After

 additional review, the Court affirms its ruling that a mistrial was not warranted. In addition,

 the Court notes that Browdy’s counsel did not request a curative instruction at trial even

 after it was offered. (Doc. 390 at 22-2-4).

        Turning to Browdy’s arguments for a new trial under Rule 33, the Court denies that

 request. Browdy argues that evidentiary errors and the interest of justice require the

 Court to grant his Motion. "[T]he court may vacate any judgment and grant a new trial if

 the interest of justice so requires." Fed. R. Crim. P. 33(a). A district court may weigh the

 evidence and consider the credibility of witnesses when evaluating a motion for new trial.

 Butcher v. U.S., 368 F.3d 1290, 1297 (11th Cir. 2004). To grant a motion for new trial,

 “evidence must preponderate heavily against the verdict, such that it would be a




 2 The relevant testimony pertained to Brown Laster, Jr.’s incarceration.    After the Court
 denied the ore tenus motion for mistrial, counsel for Brown Laster, Jr. stated that he did
 not want a curative instruction, and counsel for Jerry Browdy did not affirmatively request
 a curative instruction. (Doc. 390 at 22-2-4).



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 miscarriage of justice to let the verdict stand.” Id. Under that standard, the Court finds

 that the evidence is not against the verdict.

        Further, the Court finds Browdy’s assertions regarding the alleged evidentiary

 errors unpersuasive. “To challenge a jury verdict on the basis of an erroneous evidentiary

 ruling by the district court, the challenger must preserve his objection, demonstrate an

 abuse of discretion by the district court, and show that that the error affected his

 substantial rights.”    U.S. v. Rodriguez, 259 Fed. Appx. 270, 276 (11th Cir.

 2007)(unpublished). “An error affects the defendant’s substantial rights if it probably had

 a substantial influence on the jury’s verdict.” Id. Here, Browdy has not established that

 this Court committed error with its trial rulings. But even if the Court accepted Browdy’s

 arguments regarding the evidentiary rulings, the Court still finds that the rulings did not

 impact Browdy’s substantial rights. Accordingly, Browdy’s Motion is denied.

        Accordingly, it is now ORDERED:

        Defendant Jerry Browdy’s Motion for Judgment of Acquittal or in the Alternative

 Motion for New Trial (Doc. 412) is DENIED.

        DONE AND ORDERED at Fort Myers, Florida, this November 30, 2017.




 Copies: Counsel of Record




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